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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
       WILLIAM RIVERA,                              :
            Plaintiff,                              :              CIVIL ACTION
                                                    :
                   v.                               :              No. 22-3902-JMY
                                                    :
       GEORGE LITTLE, et al.,                       :
           Defendants.                              :
                                            ORDER

       AND NOW, this 3rd day of August, 2023, upon consideration of Defendants’ Motion to

Dismiss Plaintiff’s Amended Complaint (ECF No. 41) and this Court’s May 26, 2023 Order

permitting Plaintiff to file an Amended Complaint to the extent that Plaintiff does not attempt to

re-litigate any of the eight (8) claims asserted in his initial Complaint (ECF No. 32), and it

appearing that Plaintiff’s Amended Complaint (ECF No. 35) is essentially identical to Plaintiff’s

initial Complaint (ECF No. 1), it is hereby ORDERED that Defendants’ Motion to Dismiss

Plaintiff’s Amended Complaint (ECF No. 41) is GRANTED for the reasons previously set forth

in this Court’s March 21, 2023 Order granting Defendants’ Motion to Dismiss Plaintiff’s initial

Complaint (ECF No. 25) and this Court’s April 26, 2023 Order explaining why reconsideration of

the decision to dismiss Plaintiff’s initial Complaint is not warranted (ECF No. 28). THIS

ACTION IS DISMISSED WITH PREJUDICE, WITHOUT LEAVE TO AMEND.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Temporary Stay of Proceedings

(ECF No. 40) is DENIED as MOOT—in light of this Order dismissing the case.

       The Clerk of Court is DIRECTED to mark this matter CLOSED.

       IT IS SO ORDERED.
                                                    BY THE COURT:

                                                        /s/ John Milton Younge
                                                    JUDGE JOHN MILTON YOUNGE
